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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                 v.
 CAROL MOORE and                                               Crim. A. No. 24-427 (JDB)
 KEVIN MOORE,

         Defendants.



                                             ORDER

       Defendants Carol and Kevin Moore are both charged with four misdemeanors arising from

their actions at the United States Capitol on January 6, 2021. Before the Court is their joint motion

to modify their pretrial-release conditions so they can attend President Donald Trump’s

inauguration on January 20, 2025, in Washington, D.C. The Court grants the motion for the

reasons below.

                                           Background

       On May 15, 2024, Carol Moore and her husband Kevin Moore were arrested for four

federal misdemeanors: entering and remaining in a restricted building or grounds, 18 U.S.C. §

1752(a)(1), disorderly and disruptive conduct in a restricted building or grounds, 18 U.S.C. §

1752(a)(2), disorderly conduct in a Capitol building, 40 U.S.C. § 5104(e)(2)(D), and parading,

demonstrating, or picketing in a Capitol building, 40 U.S.C. § 5104(e)(2)(G). See Executed Arrest

Warrant as to Kevin Moore [ECF No. 6]; Executed Arrest Warrant as to Carol Moore [ECF No.

5]; Sealed Compl. as to Carol Moore, Kevin Moore [ECF No. 1] (“Compl.”) at 1. The basis for

the charges was the Moores’ conduct on January 6, 2021. See Statement of Facts [ECF No. 1-1]




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at 2–10. An information was filed on September 19, 2024, charging the Moores with the same

four misdemeanors. See Information as to Carol Moore, Kevin Moore [ECF No. 25].

       Video and photo evidence shows the Moores attended President Trump’s January 6, 2021

speech at the Ellipse in Washington, D.C. and then proceeded to enter the United States Capitol

with the mob that marched from the Ellipse. See id. at 4–6. Per the government’s allegations, the

Moores entered the Capitol at 3:12 p.m., took photos of themselves with Capitol Police,

“aggressively gestured at a law enforcement officer,” and exited the Capitol around 3:20 p.m. See

id. at 6–8. The government does not allege the Moores went to President Trump’s speech dressed

for combat, that they carried weapons, or that they otherwise engaged in, or attempted to engage

in, violence.

       After their arrest, the Moores appeared before a magistrate judge who set conditions for

pretrial release. See Order Setting Conditions of Release as to Kevin Moore [ECF No. 10]; Order

Setting Conditions of Release as to Carol Moore [ECF No. 9]. Consistent with the practice for

other January 6 defendants, the conditions included that the Moores must “[s]tay away from DC

except for attendance at Court proceedings” or other matters related to their case. See Order

Setting Conditions of Release as to Kevin Moore at 3; Order Setting Conditions of Release as to

Carol Moore at 3; see also, e.g., Order Setting Conditions of Release, ECF No. 11, at 3 United

States v. Tatum, Crim A. No. 24-291 (JDB); Order Setting Conditions of Release, ECF No. 6, at

3, United States v. Nelson, Crim. A. No. 23-0205. This Court has not modified the conditions of

release.

       On October 7, 2024, the Moores pleaded not guilty on all counts. See Minute Entry of Oct.

7, 2024, United States v. Moore, Crim. A. No. 24-0427 (JDB). On December 13, 2024, the Court

held a status conference at which it ruled on various motions and set the Moores’ trial date for




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April 14, 2025. See Minute Entry of Dec. 13, 2024, United States v. Moore, Crim. A. No. 24-

0427 (JDB). At that same conference, the Moores verbally moved to modify their release

conditions so they can attend President Trump’s inauguration on January 20, 2025. The Court

ordered the government to file a response, id., which the government did on December 17, 2024,

see Government’s Resp. to Defs.’ Mot. to Modify Conditions of Release [ECF No. 51] (“Opp’n”).

The Moores then replied. See Moores’ Reply to Government’s Opp’n to Mot. to Modify

Conditions of Release [ECF No. 53] (“Reply”).

                                         Legal Standard

       By default, criminal defendants released pretrial are prohibited from committing any crime

and are required to cooperate with DNA testing. 18 U.S.C. § 3142(b). If a court determines these

two conditions are insufficient to ensure the defendant’s attendance in court or others’ safety, the

court must impose on the defendant “the least restrictive further condition, or combination of

conditions,” that “will reasonably assure” the defendant attends court and the community is safe.

Id. § 3142(c)(1)(B); see also id. § 3142(c)(1)(B)(xiv) (permitting a court to impose “any . . .

condition that is reasonably necessary to . . . assure the safety of any other person and the

community”). A court determines what conditions should be imposed by considering (1) “the

nature and circumstances of the offense charged,” (2) “the weight of the evidence against the

person,” (3) “the history and characteristics of the person,” and (4) “the nature and seriousness of

the danger to any person or the community.” Id. § 3142(g). And a court can reassess these factors

and amend a defendant’s pretrial-release conditions “at any time.” Id. § 3142(c)(3).

                                             Analysis




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        Upon assessing the § 3142(g) factors, the Court determines the Moores may attend

President Trump’s inauguration without endangering the community or risking a failure to appear

in court.

        To begin, factors one and three favor granting the Moores’ motion. The Moores are not

charged with committing violent offenses or instigating the January 6 mob, and they are not alleged

to have engaged in violent conduct while committing the four charged misdemeanors. They

simply entered the Capitol for eight minutes. In addition, the government points to nothing in

either of the Moores’ pasts that indicates they have a propensity for violence or instigating

violence. Cf. Pretrial Services Rep. as to Carol Moore [ECF No. 8] (rating Carol Moore as a low-

risk level); Pretrial Services Rep. at to Kevin Moore [ECF No. 7] (same for Kevin Moore). The

Moores have also fully complied with their release conditions since the conditions were imposed.

See Pretrial Compliance Rep. as to Kevin Moore [ECF No. 23] at 3; Pretrial Compliance Rep. as

to Carol Moore [ECF No. 24] at 3.

        Despite the government’s arguments to the contrary, the fourth factor weighs in the

Moores’ favor, too. The government acknowledges the offenses the Moores are charged with are

nonviolent and does not argue the Moores otherwise have a propensity for violence. But the

government contends that the Moores should not be permitted to attend an event at “the scene of

their crime” that involves the “transition of power.” Opp’n at 3. The government gives no specific

reasons why the Moores would pose a danger at the inauguration. In the government’s view, it is

enough to say, “[w]hat’s past is prologue.” Id. To further its argument, the government—citing

Pretrial Services—states “that there is a nontrivial risk that law enforcement officers would be

retraumatized by the presence of those who rioted on January 6, 2021.” Id. at 3–4.




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       The Court is not convinced. First, past is not prologue here. The nature of the inauguration

is wholly different from the last event the Moores attended that involved the transition of power.

Put simply, the inauguration will involve a crowd largely supporting the peaceful transition of

power, not opposing it. Thus the chance the Moores will “engage in mob violence,” id., is minimal.

Second, while the Court fully recognizes the suffering law enforcement endured on January 6,

2021, the Court sees no reason that law enforcement officers will recognize the Moores. There

were thousands of people at the Capitol on January 6. The Moores did not physically harm any

officers, and the government gives the Court no other reason to believe they stood out from the

rest of the mob. And there will be even more people at the inauguration. The chances are thus

slim that any officers present at the inauguration would recognize the Moores, let alone be

retraumatized by their attendance.

        Thus, factors one, three, and four weigh in favor of granting the Moores’ motion. In

contrast, factor two weighs in favor of denying it. Photographic and video evidence—including

photos the Moores allegedly sent after January 6—indicate that the Moores did in fact enter the

Capitol and yell at Capitol Police. See Statement of Facts at 2–9; 18 U.S.C. § 1752(a)(1)

(prohibiting “enter[ing] or remain[ing] in” buildings such as the Capitol without authority); id. §

1752(a)(2) (prohibiting “engag[ing] in disorderly or disruptive conduct” in buildings such as the

Capitol); 40 U.S.C. § 5104(e)(2)(D) (prohibiting parading in the Capitol); id. § 5104(e)(2)(D)

(prohibiting “disorderly or disruptive conduct” in the Capitol). And the Moores’ attendance at

President Trump’s speech and his rally on January 5, 2021—which both emphasized the lie that

the election was stolen—could lead a jury to find the Moores wished to halt the Senate’s count of

the electoral votes and that they knew they had no authority to enter the Capitol. See Statement of

Facts at 2–8; 18 U.S.C. § 1752(a)(1) (requiring a knowing mens rea); id. § 1752(a)(2) (requiring




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an “intent to impede or disrupt the orderly conduct of Government business or official functions”);

40 U.S.C. § 5104(e)(2)(D) (requiring an “intent to impede, disrupt, or disturb” Congress).

       The Court determines, however, that this factor is outweighed here. The Moores only

request a day-long modification of their release conditions to attend an event memorializing this

country’s tradition of peaceful transfer of power. Considering the other three 18 U.S.C. § 3142(g)

factors weigh in favor of granting the Moores’ motion, the Court concludes that evidence

indicating the Moores committed four nonviolent misdemeanors does not make prohibiting them

from attending the inauguration “the least restrictive . . . condition” necessary to ensure the

community is safe. Id. § 3142(c)(1)(B).

                                           Conclusion

       For the reasons above, it is hereby ORDERED that [53] Kevin and Carol Moores’ motion

to modify conditions of release is GRANTED. It is further ORDERED that [10] Order Setting

Conditions of Release as to Kevin Moore and [9] Order Setting Conditions of Release as to Carol

Moore shall be modified to permit them to travel to Washington, D.C. to attend the presidential

inauguration on January 20, 2025. SO ORDERED.



                                                                        /s/
                                                                JOHN D. BATES
                                                           United States District Judge
Dated: January 10, 2025




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